              Case 19-51031-BLS        Doc 28    Filed 01/14/21    Page 1 of 1




                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

 In Re:                                      :   Chapter 11
                                             :
 Woodbridge Group of Companies, LLC          :   Case No.: 17-12560 (BLS)
                                             :
                    Debtor.                  :
                                             :
 Michael Goldberg, as Liquidating Trustee of :
 the Woodbridge Liquidation Trust,           :   MEDIATION STATUS REPORT
 successor in interest to the estates of     :
 Woodbridge Group of Companies, et al.,      :
                                             :
                    Plaintiff,               :   Adv. Proc. No.: 19-51031 (BLS)
 v.                                          :
                                             :
 Bank of America Corporation,                :

                 Defendants.

        In accordance with this Court's Order Assigning Adversary Proceeding to Mediation, the
undersigned mediator reports that the mediation has not been completed and hereby provides a
projected schedule for completion.

          X          Mediation sessions are scheduled to occur on May 7, 2021.

                     A mediation session needs to be scheduled, but the mediator has been
                     unable to arrange a date and time.

                     OTHER:


Dated: January 14, 2021                      /s/ Ian Connor Bifferato
                                           Ian Connor Bifferato (DE #3273)
                                           The Bifferato Firm P.A.
                                           1007 N. Orange Street, 4th Floor
                                           Wilmington, DE 19801
